R.~v. 5/2008' ·



                                        UNI1'ED STATES BANKRUPTCY COURT.
                                               FOR THE EASTERNDISTRICTOF MICHIGAN · .


        Inre: GERALDLORMANBAZE
        . .    ..   .  .. . . . ' II.
                                   ..




                                                                                           Chapter: ll_· .
                                                                                         . Case'Number:· l9-2;2348~dob
                                            Debtor(s).                                   . Judge: . Daniel S; Opperman•·.
                                                                     I


                                                 STIPULATION FOR PAYMENT ORDER.· .


                       The above~narned Pebtor(s) and Th9mas W. McDonald; Jr., Chapter 13 Trustee, her~bystipulate
      ..fo entry ofan order granting Debtor'.s motioti for an order,directing Pebtor' s employer, Dayco :Products,
                                                                                             1


        LLC, of 1799 Grover Parkway; Mt. ,Pleaiiant, MI MI 4~858, fo pay the sum of. $265 ,J8 biweekly to. the
        Chapter 13 Trustee.             ·                  ·                                     ·               ·

        Dated:December27,2019'




          . Edmund.Frost . 13746)                                             Thoµias W. McDonald,Jr.
       · Attorney        for
                      Debtor ...                                          . · Chapter 13 Trustee
         319 CenterAvertue                                                    3144 Davenport. Avenue
         Bay City, MI 48708                                                   Saginaw, Mi 48602 · ·
         (989) 8~3:-3111                                                      (989) 192~6766 .
         jefrost@attnet                                          I            toin@mcdonald 13 .com

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                             UNITED STATES BANKRUPTCY COURT
                                  FOR THE EASTERN DISTRICT OF MICHIGAN


       In .re: GERALD LORMAN BAZE, II

                                                                               Chapter: ll__
                                                                               Case Number: 19-22348-dob
                               Debtor(s).                                      Judge: Daniel S. Opperman
       ________________/

                                                PAYMENT ORDER


              The above-'named Debtor(s) having filed a Petition for relief under Chapter 13 of the Bankruptcy
       Code, and upon motion of the Debtor(s) pursuant to L.B.R. 1007-l(c) (l)(A) (E.D.M.).               ~

               IT IS HEREBY ORDERED that _Dayco Products, LLC
                                                                -------------
       ("Payor"), at _1799 Grover Parkway, Mt. Pleasant, MI MI 48858
                                                                    -----------
       imm edi ate Iy forward and make payable to:


       Thomas W. McDonald, Jr.
       Chapter 13 Trustee
       P. 0. Box 613286
       Memphis, 1N 38101-3286


       $ _265.38 _ _ _ _ _ _ per _Biweekly_ _ _ _ _ _ _ _ _ _ _ _ _ _ (pay period) of
       the Debtor(s)' future gross income until the further Order of the Court and that it cease and desist from
       giving effect to any prior or future garnishment or assignment of the Debtor(s)' income except for order
       for child support, or alimony, current withholding taxes, union dues, and medical or other insurance
       premiums.




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